Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 1 of 11 Page ID
                                  #:3978




           Exhibit H
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 2 of 11 Page ID
                                  #:3979
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 3 of 11 Page ID
                                  #:3980
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 4 of 11 Page ID
                                  #:3981
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 5 of 11 Page ID
                                  #:3982
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 6 of 11 Page ID
                                  #:3983
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 7 of 11 Page ID
                                  #:3984
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 8 of 11 Page ID
                                  #:3985
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 9 of 11 Page ID
                                  #:3986
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 10 of 11 Page ID
                                   #:3987
Case 2:18-cr-00331-GW   Document 279-8 Filed 12/12/22   Page 11 of 11 Page ID
                                   #:3988
